      Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 1 of 56




        T.R. Status Report
                  December 30, 2019


Submitted under the
Settlement Agreement
in T.R. v. Birch and Strange
Hon. Thomas S. Zilly
U.S. District Court, Seattle
No. C09-1677-TSZ




                                                                        1
        Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 2 of 56




Table of Contents
Introduction                                                              3

I:   Implementation Highlights                                            4

II: Preparing for Exit                                                31

III: Glossary of Terms                                                34

IV: Attachments                                                       38




                                                                              2
         Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 3 of 56




                 Wraparound with Intensive Services (WISe)
                      Implementation Status Report

Introduction

In December 2013, the state of Washington settled T.R. v. Birch and Strange (formerly
Dreyfus and Porter), filed four years earlier, which required the State to provide children
and youth on Medicaid with intensive mental health services in homes and community
settings. In the settlement, Washington State committed to developing intensive mental
health services, based on a “wraparound” model, so that eligible youth can live and thrive in
their homes and communities and avoid or reduce costly and disruptive out-of-home
placements. As part of the settlement, Washington State developed Wraparound with
Intensive Services (WISe). WISe is designed to provide comprehensive behavioral health
services and supports to Medicaid-eligible individuals, up to 21 years of age, with complex
behavioral needs and to assist their families on the road to recovery.

By early 2018, parties acknowledged that the State would not have completed all exit
criteria by the original anticipated completion date of June 2018. In April 2018, the parties
submitted a Stipulation to the Court 1 with clarifications to various exit criteria of the T. R.
Settlement Agreement and to further apprise the Court on the status of the implementation
efforts. In June 2019, it was determined the State needed additional time to allow
demonstration of exit criteria established in the T.R. Settlement Agreement. On July 1,
2019, the parties determined an additional 12 months (July 1, 2019 - June 30, 2020) 2
would be necessary to complete all exit criteria and agreed to further clarifications to the
exit criteria in para 69 (c) of the Settlement Agreement 3.

Until the exit of the settlement agreement, the State will provide the Court, the plaintiffs,
and the public with an annual T. R. Status Report that describes progress in meeting
obligations under the agreement. This T. R. Status Report is the sixth annual report.

This year’s report highlights statewide efforts since November 2018. Section I provides a
summary of accomplishments in 2019 and upcoming changes. Section II signals that the
parties are working toward exit. In early 2020, the parties will work in collaboration to
create an outline for a final court report regarding whether the State has met the T.R.
Settlement Agreement exit criteria by the expected date of June 30, 2020. Section III
contains a glossary of key terms and Section IV has relevant attachments.




1 Included in section IV. Attachments, pp 39-42.
2 Included in section IV. Attachments, pp 43-46.
3 Included in section IV. Attachments, pp 47-52.


                                                                                                3
        Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 4 of 56




I. Summary of Progress

Over the past year, Health Care Authority worked with all levels of the child serving system
on targeted efforts to accomplish obligations identified during T. R. mediation while at the
same time maintaining statewide implementation benchmarks. Partners in this work
include the Department of Children, Youth, and Families (DCYF), Department of Social and
Health Services/Developmental Disabilities Administration (DSHS/DDA), statewide and
regional Family, Youth, System Partner Round Tables (FYSPRTs), WISe agencies, and
Managed Care Entities (i.e. Behavioral Health Organizations and Managed Care
Organizations).

Areas of focus included:

   •   Access and Service Delivery
   •   Due Process
   •   Quality Management Plan
   •   WISe/Behavior Rehabilitation Services Integration

This report provides updates on these critical areas and also showcases approaches
intended to move WISe implementation past compliance. Over the past five years, the State
has implemented a model of care, informed by youth and families, which attempts to
stretch beyond T.R. obligations.


Washington Has Made Significant Advances over the Past Year

    1. An increasing number of children and youth are receiving WISe screens in a
       timely manner

Implementation data indicates that the number of referrals and screenings continues to
grow. In SFY 2019 (July 1, 2018, through June 30, 2019), 5,389 WISe screens were
conducted for an unduplicated total of 4,645 youth, representing a 14% growth in youth
screened over the prior fiscal year. The largest referral sources for the WISe program are
mental health outpatient, (29%), self and family (25%), and Department of Children, Youth,
and Families (19%).

Of the 5,389 screens conducted in SFY 2019, 87% were conducted within 14 days of
referral, the standard for screening timeliness. This is consistent with the level of
screening timeliness over the past three years (SFY 2017 - 87%; SFY 2018 - 89%; SFY 2019
- 87%). In the upcoming year, Health Care Authority (HCA) will work with regions whose
rates are below 80% on improving screening timeliness.

In total, from July 1, 2014, through June 30, 2019, 16,976 total WISe screens were
conducted.


                                                                                           4
          Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 5 of 56




     2. More children and youth are receiving WISe services

WISe is available in all of Washington’s 39 counties. Over the past year, six new agencies
started providing WISe and existing WISe agencies have expanded their number of teams
and increased their areas of coverage. Additional agencies are indicating an interest in
developing WISe teams. Two of the new WISe agencies, one in King County and one
Yakima County, are focusing services specifically on birth to five years old.

WISe Service Providers, as of November 2019




NOTES: WISe services are provided in all 39 counties (Wahkiakum and Skamania do not have a local, in-county provider,
but are served by providers in neighboring counties). Map shows 71 WISe providers operating as of November 2019.



With the expansion of the provider network, the State increased capacity to provide
services and supports in home and community settings. October 2019 enrollment reports
from Managed Care Organizations show over 2600 youth receive WISe monthly, which
meets the monthly caseload service target in the settlement agreement. These monthly
service target numbers will be further validated as encounter data matures.




                                                                                                                    5
         Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 6 of 56




A total of 8,344 youth are estimated to have received WISe services between July 2014 and
March 2019. In the last four quarters of data available (April 2018 - March 2019), a total of
4,656 youth were served in the WISe program, up 23% from the 3,786 served in the prior
year (April 2017 - March 2018).

Additionally, WISe service intensity has increased in many regions across the state. The
statewide three-month moving average number of service hours per youth per WISe
service month was 11.0 in April 2019, not including data from King County. 4 This average
varied among regions, ranging from 7.7 hours per service month in North Central to 12.9
hours per service month in Pierce. Across the state in calendar year 2018, service hours
occurred in homes (34%), in outpatient settings (33%), at school (8%), and in other
community settings (24%). A small number of services were delivered in residential care
settings and correctional facilities (2%).


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4 King County service intensity estimates have been suppressed due to service unit reporting errors identified
between January and June 2019, which affected earlier estimates for this period. The state is developing a
correction to account for these reporting errors, and is examining service data more broadly to determine if
similar reporting errors occur in any other regions/time periods. The state is also developing adjustments to
service intensity estimation procedures to account for the transition to 2019 SERI reporting standards,
available at: https://www.hca.wa.gov/billers-providers-partners/behavioral-health-recovery/service-
encounter-reporting-instructions-seri. Although new SERI standards officially went into effect in July 2019,
adjustments may affect estimates back to January 2019. An updated Service Intensity Report for King County
will be disseminated publically once completed.

                                                                                                            6
           Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 7 of 56




WISe Service Intensity: Three-Month Moving Average, as of April 2019


      WASHINGTON       11.0
        Great Rivers   12.4
    Greater Columbia   9.5
        King County*   Suppressed pending data quality review
       North Central   7.7
        North Sound    12.1
       Pierce County   12.9
              Salish   9.8
          Southwest    11.6
     Spokane Region    11.0
     Thurston Mason    10.7
                       0.0                              9.0 hours              10.5 hours


                                                            * See footnote 4 for additional information


The percentage of services modalities delivered in each region also varied. Statewide, the
top five service modalities, by hours of WISe services are: individual treatment services
(32%), peer support (17%), child and family team meetings (15%), care coordination
services (10%), and family treatment (7%).

The full WISe Service Intensity Report, WISe Characteristic Report and the WISe Quarterly
Dashboard reports are all available on the HCA Website under the “Current Reports”
section. 5



       2. Children and youth are benefitting from WISe services

Youth and families report substantial benefits from participating in WISe. WISe uses
quantitative and qualitative feedback from its youth and family survey as well as the Child
and Adolescent Needs and Strengths (CANS) tool to measure progress and need for
improvement.

CANS is administered at intake and every three months while the child or youth
participates in WISe. The tool measures the number of ‘need’ items that require immediate

5 Link to WISe Reports: https://www.hca.wa.gov/about-hca/behavioral-health-recovery/wraparound-
intensive-services-wise-0

                                                                                                          7
        Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 8 of 56




attention as well as the number of current strengths that the youth and family have. Both
needs and strengths show improvement as WISe services are provided. The percentage of
youth with clinically significant treatment needs declined across all five of the top
behavioral and emotional domains including emotional control problems, mood
disturbance, attention/impulse problems, anxiety, and adjustment to trauma.

Recent CANS data from youth who have received WISe shows improvement in the youths’
level of functioning, including changes in needs, risk factors, and strengths. After receiving
six months of WISe services, the percent of youth with actionable treatment needs
decreased as depicted below:

Changes in CANS Item Scores between Baseline and Six-Month Follow-Up
Youth with Initial Assessments January - December 2018




Emotional control problems decreased from 78% to 56%, the percent of youth with mood
disturbance problems decreased from 70% to 48%, and the percent of youth with decision-
making problems decreased from 59% to 45%. The percent of youth with identified natural
supports increased from 63% to 71% after the first six months of receiving WISe.

CANS data is publically available through the Behavioral Health Assessment Solution
(BHAS) quarterly trends reports. State level and regional reports are available on the HCA
website and are updated quarterly 6.

A new set of outcome measures based on administrative data was produced in June 2019,
and will be added to the next Annual WISe Dashboard, to be released in early 2020. The


6 BHAS Quarterly reports: https://www.hca.wa.gov/about-hca/behavioral-health-recovery/wraparound-
intensive-services-wise-0#bhas-reports

                                                                                                    8
           Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 9 of 56




outcomes show that WISe participants make important progress in a variety of domains
following WISe entry, including reduced mental health inpatient utilization, reduced
emergency department visits, reduced suicide and self-injury diagnoses, and increased
foster care placement stability. A separate analysis produced by the Office of the
Superintendent of Public Instruction (OSPI) in collaboration with the Education Research
Data Center (ERDC) and DSHS Research and Data Analysis Division (RDA) also shows that
WISe participants display a reduction in school absences and suspensions or expulsions
after engaging with the WISe program.

WISe Educational Outcomes
SFY 2018 Entry Cohort
ABSENCES: Of WISe clients linked with educational data             SUSPENSIONS/EXPULSIONS: Of WISe clients linked with
and enrolled in the quarter, the proportion of school days         educational data and enrolled in the quarter, proportion
absent of total school days enrolled.                              with any suspensions or expulsions in each quarter.
                                                                                    20.0%
                                                                                   One
                                                                                   quarter
                                                                      15.1%        prior to
                                                                                   entry          14.3%
                 13.3%                                               Two                                          12.7%
                                                                     quarters                   One
   10.9%        One            11.3%                                                            quarter
                quarter                                              prior to                                 Two
                              One
                                                9.8%                                            after         quarters
  Two           prior to                                             entry
                              quarter                                                           entry         after
  quarters      entry                       Two
  prior to                    after         quarters                                                          entry
  entry                       entry         after
                                            entry




         BEFORE                         AFTER                                BEFORE                       AFTER
                     WISe Entry                                                         WISe Entry

NOTES: Statistics reflect the experience of youth entering the WISe program in SFY 2018. Analyses performed by ERDC and OSPI
on behalf of DSHS Research and Data Analysis Division.


The full WISe Education Outcomes report is available online at:
https://www.hca.wa.gov/assets/program/wise-education-outcomes-2019.pdf


Celebrating Successes!

WISe agencies across the state celebrate success as much as possible, including at the start
of each Child and Family Team meeting, and when youths achieve their goals and transition
to a less intensive level of care. Below are a few success stories shared by youth and
families enrolled in WISe and WISe providers:

     •    Two siblings in foster care were enrolled in behavioral health services, one in
          traditional outpatient services and one in WISe. After a brief period of time, the

                                                                                                                              9
    Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 10 of 56




    foster parents recognized the intensive level of services provided through WISe and
    stated, “We really should have opened in WISe for him instead!” referring to the
    sibling enrolled in traditional outpatient services. To better support this child’s
    needs, WISe gathered a full team together. In addition to the WISe staff, team
    members included his social worker, foster parents and their relatives, school staff,
    daycare provider, and others. Shortly after WISe was initiated, he exhibited
    tantrums which included throwing things, scratching, and biting. Complicating his
    behavior more was a history of sleeping problems and sensory issues. For months,
    this child continued to have big challenges and the foster family reported feeling
    tired and hopeless. He also continued to have significant challenges at daycare and
    school, which ultimately led to the daycare center requesting a transfer to another
    caregiver. During the transition, the WISe team was instrumental in supporting him
    as he entered a new foster home and a new school. The new foster family
    participated in the WISe process and helped him feel supported and optimistic. Over
    a period of time, the whole WISe team witnessed him thrive. During the process, the
    caregivers increased their understanding and learned new strategies for meeting
    the child’s needs. Eventually, he was able to re-enroll in his previous daycare. At
    discharge from WISe, he was doing well in school, tantrums reduced and he had
    developed a special bond with his new foster family. At last update, there was
    discussion of the foster family becoming a part of his permanency plan.

•   A transition age youth participated in WISe for about a month before needing to
    transition to inpatient substance use disorder treatment. When she returned home,
    she was immediately reengaged in WISe with an approach specifically designed to
    support transition age youth. While enrolled in WISe, she maintained recovery,
    eliminated using the substances that required inpatient treatment, improved
    relationships with her caregivers, passed her first classes since grade school, and
    became involved in community activities.

•   A foster family welcomed into their home three siblings who had experienced
    tremendous trauma. One of the boy’s behaviors was so extreme he engaged in
    aggressive outbursts almost 24 hours a day, every day. Before WISe, the family
    reported a loss of hope and a sense of uncertainty as to whether the siblings would
    be able to stay together. The family voiced a strong commitment and dedication to
    each other. The WISe team supported the family’s shared vision, provided intensive
    services in the home, coordinated with school staff, and engaged additional supports
    which included a behavioral specialist. Over time the family grew together in leaps
    and bounds. Currently, all three of the siblings are succeeding in school, sports, and
    all aspects of life. As a family unit, they have demonstrated on-going support,
    increased communication, and a shared love for the family vision where all the boys
    remain in the same home. In December 2019, all three siblings will be officially
    adopted and will stay together. The WISe team is invited to the adoption ceremony
    and are excited to be part of this family’s next steps.



                                                                                       10
        Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 11 of 56




    3. The Family Youth System Partner Round Tables (FYSPRTs) play a crucial role
       in supporting the delivery of WISe services

Family Youth System Partner Round Tables (FYSPRTs), part of the Children’s Behavioral
Health Governance Structure, provide youth and families opportunities to play an active
role in how systems serve them. FYSPRTs 7 are a platform for families, youth, and system
partners to collaboratively voice ideas and feedback to inform decision making at the
regional and state level. FYSPRTs are based on System of Care core values: family driven
and youth guided, community based and culturally and linguistically competent. FYSPRTs
at the state and regional level are facilitated and led by a family, youth, and system partner
tri-lead team. The intention in the design of the governance structure is to use community
strengths to address challenges and barriers as close to the community as possible.

The Statewide Family, Youth, System Partner Round Table (FYSPRT) consists of family,
youth, and system partner Tri-leads from the regions and state-level, child-serving system
partners. Since 2013, the number of Regional FYSPRTs has increased from four to ten.

These ten regional FYSPRTs communicate and work with the statewide FYSPRT to resolve
regional challenges using the Challenge and Solution Submission Form after attempting to
address and resolve the issue within the region. The regional FYSPRTs also have been
working to identify community and FYSPRT needs and then develop a five-year strategic
plan and an annual work plan to address those needs.

Some examples of how the FYSPRTs have been impactful and will continue to be impactful
as we approach full integration in January 2020 include a System of Care Hub in Mason and
Thurston Counties. The goal for these counties was to create on online hub for youth,
families, schools, agencies, and organizations to be able to locate and explore programs and
services in the region. Partners in this hub include behavioral health, child welfare, state
juvenile rehabilitation, developmental disabilities, education, family and youth
organizations/programs, probation, and tribal partners. Coordinated Care of Washington
(CCW), a managed care organization, has engaged in the regional FYSPRTs with CCW
representatives being selected to be the System Partner Tri-lead for the Salish and North
Sound FYSPRT, by providing a Wellness Recovery Action Plan training for the Greater
Columbia FYSPRT, and working on fundraising for regional FYSPRTs during Mental Health
Awareness Month. In another example of FYSPRT impact, the Statewide FYSPRT receives
consistent feedback in evaluations that attendees appreciate the time to talk to and connect
with family, youth, and system partners from other regions across Washington as well as
state child serving system partner representatives. Having the Statewide FYSPRT as a
platform to connect unites us all around the joys of the work and to support each other
around the challenges of the work. FYSPRTs are a real life example of system of care values
in action both at the regional and state levels.


7More information available at: https://www.hca.wa.gov/about-hca/behavioral-health-recovery/family-
youth-system-partner-round-table-fysprt


                                                                                                      11
           Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 12 of 56




A success story that links with FYSPRTs: TJ 8 never imagined living past the age of 19.
Growing up, he didn’t feel safe at home. His father lived on the wrong side of the law and
never made time for him. His mom worked two jobs to keep their family afloat, and he
didn’t have the emotional support of his family that every child needs. Much of his youth
was spent alone. He shared that he mostly existed in a comatose state and often
contemplated suicide. His family’s trailer felt more like hell than a home. He started using
drugs and alcohol in middle school. But he wanted more from life.

He began to feel hopeful his freshman year of high school, when his teacher steered him
toward the WISe program. The WISe staff listened and empowered him to find his voice
and create the change that he wanted and needed. They brought together a team to support
him that included his mom. Together, the team discovered TJ’s strengths and created a plan
to overcome the challenges and help him reach his goals. His mental health needs were
addressed through therapy. He began to open up about his trauma and started to discover
who he was and who he wanted to be.

As TJ’s life improved, he decided to pursue his interests in youth advocacy. He got involved
with student government at his high school, as well as the regional Family and Youth
System Partner Round Table (FYSPRT). He has served in leadership roles and he continues
to advocate for youth with mental health challenges throughout Washington State. He
graduated from both the WISe program and high school, and now has the opportunity to
attend college. TJ says that WISe helped him find hope and realize that mental health
challenges don’t have to stand in the way of meeting his goals.


        4. Washington child serving systems are working to improve access to and
           coordination with WISe.

Over the past year, HCA continued collaboration with the Department of Children, Youth
and Families (DCYF) and DSHS/Developmental Disabilities Administration (DDA) to
improve access to WISe. The information below highlights these efforts.

Behavior Rehabilitation Services (BRS) and WISe will be delivered together in a highly
coordinated effort. BRS is a temporary intensive support and treatment program for foster
children and youth with high-level complex service needs who are in the care and authority
of Washington State Department of Children, Youth and Families (DCYF). DCYF contracts
with BRS providers to deliver supports that are intended to stabilize foster children and
youth and assist them in transitioning to less intensive or restrictive services and achieving
their permanent plan.

The intent of BRS aligns with the WISe program. Both BRS and WISe services share the
following objectives when safely possible:



8   Not the youth’s real name or initials

                                                                                           12
          Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 13 of 56




      •   Support children and youth and their families to receive services in the least
          restrictive environment in a way that will safely meet their needs both for
          placement and treatment.
      •   When possible, meet the needs of children and youth in community-based settings
          to prevent the need for placement into a more restrictive setting.

At the start of WISe implementation in July 2014, there was a policy decision not to offer
WISe to youth in BRS placements. However, as a part of ongoing program development
and as an outcome of discussions between the parties, DCYF and DBHR agreed in March
2018 to begin providing BRS and WISe concurrently. To prepare for this statewide
initiative, DCYF and DBHR completed a work plan in May 2018. The plan included
launching four “early adopters” BRS/WISe sites. The input from these sites informed
statewide planning through early “lessons learned.” Staff from the four sites also
participated in regional technical assistance sessions to prepare BRS and WISe providers
for the statewide launch in October 2019.

Phases of implementation include:

      •   July 2019: On a voluntary basis, agencies with contracts for both BRS and WISe were
          invited to begin providing services concurrently.
      •   August 2019: DCYF Dependent class members who were already enrolled in WISe
          services and who were placed in BRS were permitted to remain in WISe services.
      •   October 2019: All class members who screened eligible for WISe and were being
          placed in BRS were offered WISe.
      •   October 2019: Class members who screened eligible for WISe and were already
          receiving BRS were eligible to receive WISe upon availability and until then offered
          CFTs every other month until WISe is provided.
      •   January 2020: Class members who are receiving BRS and screen eligible for WISe at
          the time of their six-month WISe screening may receive both services concurrently.

HCA and DCYF staff provided training and technical assistance (TA) over the course of a
year. Between November 2018 and April 2019, BRS staff received training on the
BRS/WISe initiative and more in-depth information about WISe, including information on
the CANS screening and assessment, the role of the Certified Peer Counselor, Child and
Family Team meetings, and the overarching Washington State Children’s Behavioral Health
Principles. In August and September 2019, regional TA sessions were provided to BRS and
WISe providers. Other training opportunities included: BRS presentation session for WISe
providers at the 2019 WISe Symposium and a BRS/WISe Panel presentation from the four
implementation sites at the 2019 WISe Symposium. Additionally in October 2019, HCA and
DCYF completed a Guidance Document 9 that will be updated as needed.

During the first year of implementation, HCA and DCYF will focus on system
implementation and identifying any system barriers and/or any additional training or TA

9   https://www.hca.wa.gov/assets/program/wise_guidance_document_october.pdf

                                                                                             13
        Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 14 of 56




needed to support the new initiative. As the program grows and data matures, outcomes
from the BRS and WISe initiative will be available through CANS data and reported out and
posted on the HCA WISe website. Based on experience, the State anticipates an overall
benefit to youth receiving BRS and WISe concurrently.

WISe and BRS success story: One early success story from providing BRS and WISe
concurrently involves a youth who was in foster care from age five to sixteen years
old. After being removed from his mother’s care at a young age, he maintained some
contact with her throughout his childhood. Over the years he lived with other family
members, in a number of foster homes, and had multiple BRS placements.

During his last BRS placement, he identified an interest in working on ways to better
express his needs. He also shared that his most important wish was for a better connection
with his mother. This youth was one of the first enrolled in the pilot for providing WISe and
BRS concurrently, which launched in October 2018. (To this day, he tells everyone that the
BRS and WISe approach was his own idea!)

The WISe Child and Family Team included his mother, and over the course a few months,
he transitioned back to her care. He has lived at home for over a year and is still engaged in
WISe. Though there have been ups and downs, he reports his relationship with his family is
strong. Recently he shared that he will soon be eighteen years old and that he wants to
move out on his own, but not right away. He wants to remain at home just a little longer
and his family is excited about this.

DCYF/Juvenile Rehabilitation (JR) had multiple meetings with plaintiff’s counsel for their
input in developing a protocol for the Medicaid enrollment and WISe suitability and
referral process. JR defines “WISe suitable” to mean youth with mental health needs who
may screen as eligible when a CANS is administered. “Suitability” is defined broadly, based
on information gathered in the agency’s screens, mental health and substance use, and
criminogenic risk/protective factor assessments. It is broadly defined so the WISe option
and CANS referral is offered to the maximum number of youth to allow WISe provider
engagement, CANS administration, and youth/family interest to be the primary
determining factors in WISe participation.

JR invested substantial programmer resources to develop “Medicaid Enrollment and
Tracking” and “WISe Eligibility & Referral” modules in its Automated Client Tracking (ACT)
system. They internally developed and released the following modules in the agency’s
Automated Client Tracking (ACT) system:

    •   Assessment and Acuity to identify and track mental health acuity, functioning, and
        diagnoses. This supports identification of potential needs-related eligibility for
        WISe services.
    •   Medicaid Enrollment & Status to identify youth’s current Medicaid status. This
        supports coverage-related eligibility for WISe services.



                                                                                           14
        Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 15 of 56




    •   WISe Suitability & Referral to identify and track WISe suitable youth, based on
        needs, coverage, and youth/family interest, to generate WISe referrals and track
        referral outcomes.

In addition, JR enhanced its training efforts to increase JR employee understanding and
familiarity with WISe. JR embedded WISe orientation in the JR Final Onboarding Training
and Assessment (FOTA) provided to all permanent hires within the first six months of JR
employment. JR also discussed WISe implementation and improvement strategies at
quarterly Behavioral Health Quality Improvement meetings, which included clinicians,
psychiatrists, nurses, behavioral health administrator and coordinators, and clinical
directors. Finally, an increased number of JR field staff attended the WISe Symposium in
July 2019 in order to deepen staff’s understanding of WISe and also to increase community
partnerships and relationships.

In 2020, JR will continue to collaborate with MCOs, HCA and SeaMar to identify resources
and communication/education strategies that increase youth and family abilities to
navigate the integrated medical/behavioral health system.

JR System Innovation: JR applied for and received a System of Care grant from the Office
of Homeless Youth to hire a WISe Engagement Specialist in the fall of 2019. Interviews
were held for this position in early December 2019 and JR anticipates having staff hired in
January 2020. The goal of the position is to increase youth participation in the voluntary
WISe program, particularly youth of color, who represent 64% of JR youth. Ideally, the
selected candidate will be a person with lived experience in the juvenile justice system or
other systems of care.

Prior to applying for the grant, JR received signed letters of support for the grant from MCO
executives. The letters expressed support for creative approaches to WISe eligibility
screening and enrollment, including accepting CANS completed by certified JR personnel.
The two-year project position will work with JR team members, partners at the Health Care
Authority, Managed Care Organizations and WISe providers in the community to increase
access to WISe services for youth who release from JR facilities. They will model and
advocate for trauma-informed, culturally responsive approaches to engaging youth in
supports and services, and serve as a bridge between JR residential programs and
providers in the community.

The person in this position will have a unique opportunity to balance direct connection
with youth and their families and systemic influence with leaders and providers around the
state. The position will connect with youth residing in JR institutions to educate them about
the WISe option, screen youth and families for eligibility, and facilitate preparation and
participation with those who are eligible and interested. They will also collaborate with
internal and external leaders, and providers in the community to develop and strengthen
relationships and processes that increase capacity to offer meaningful support to youth and
families who would benefit from WISe.



                                                                                           15
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 16 of 56




WISe success story: A twelve-year-old male entered WISe with a variety of struggles,
including difficulties with his mother and sibling, school behavioral concerns, and juvenile
justice involvement. At school, he displayed no evidence of learning, cursed at staff
members, slept a good part of the day, and missed the bus regularly. In the classroom, he
escalated to the point where other students needed to be removed to keep everybody safe.
He was arrested after an incident resulted in damage to his classroom, breaking the fire
extinguisher in the school hallway, and allegedly assaulting a teacher. At home, he refused
to take his medication on a regular basis, if at all, cursed at mom, destroyed furniture and
carpeting, intentionally instigated fights with his older sibling, and lacked respect for rules
and expectations at home and in the community. Initially, the WISe team focused on
stabilizing the family unit, including positive communication strategies and assisting mom
in setting and maintaining boundaries with her son. Over the course of treatment, with
support, mom implemented a one-to-one system, where he would earn video game time for
taking his medicine and internet time for making the bus and making a good faith attempt
to do school work. The WISe team supported his mom in regaining authority in her home
through positive discipline techniques. His IEP was modified to include executive
functioning challenges and new strategies were implemented in the classroom, ultimately
leading to a successful school experience and earning additional privileges outside of his
behavioral classroom. The youth himself made significant gains in social skills, particularly
taking accountability for his actions, whether they were negative or positive and learning
about how to act based on his environment. Two months into the next school year, the
youth was displaying evidence of learning in the classroom, was engaged in extracurricular
sports, attending a general education class, and receiving praise from teachers and other
school staff. One staff member commented, “On a scale of 0-10, he’s a 58! This was a kid
who used to curse at me and now comes up and says, ‘Hi Coach!’” In the home, mom
reported he was “keeping his room relatively clean” and was working towards repaying
restitution through completing additional chores. After a year of services, the youth and
his family graduated from WISe after meeting all of their treatment goals.


DSHS/Developmental Disabilities Administration (DDA) has continued to actively
support activities related to the T.R. Settlement agreement throughout 2019.

DDA offers positive behavior support (PBS) as a service option for individuals enrolled in
the five Medicaid home and community based service waivers administered by DDA
including: Basic Plus, Children’s Intensive In-Home Behavioral Support (CIIBS), Individual
and Family Services (IFS), Core, and Community Protection waivers.

Applied Behavioral Analysis (ABA) and WISe are two such benefits that are available in the
state plan. PBS is currently available in waivers administered by DDA to supplement
services available in the state plan to meet the behavioral health needs of young people
with developmental disabilities. DDA has continued to work in partnership with the Health
Care Authority (HCA) to coordinate efforts in supporting DDA clients using ABA and/or
WISe.



                                                                                            16
        Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 17 of 56




Tasks completed since the previous T.R. Implementation Status Report include:

    •   In June 2019, DDA Management Bulletin D17-021 was amended and is now
        referenced as D18-015. The Management Bulletin was updated to replace outdated
        attachments with current hyperlinks.
    •   In April 2019, DDA Policy 4.06, Children’s Intensive In-Home Behavioral Supports,
        was updated to include information on how the DDA Case Manager can best work
        with the WISe Facilitator for Child and Family Team meetings.
    •   Throughout the year, DDA facilitated bimonthly behavior support staffings. The
        cases reviewed include individuals who are running into barriers accessing services
        or have such complex needs that Central Office involvement is required.
        Representatives from the HCA are included in these meetings, including those who
        work exclusively with WISe.

At the time of the last implementation status report, DDA committed to monitoring the
number of WISe Screens by Referral Source as documented in the Behavioral Health
Assessment Solution (BHAS). While there hasn’t been a substantial increase in the number
of referrals coming directly from DDA, there has been a steady increase in the percentage
of people who identify as being involved with developmental disability services at WISe
entry according to BHAS data (2015 - 5%, 2016 - 6%, 2017 - 7%, 2018 - 7%, and 2019 -
9%). 10

Over the next year, DDA will continue to work as a cross-system partner to develop a
best-practices protocol. Additionally, DDA will continue to provide training opportunities
to the field regarding the availability and benefits of WISe services.

Trends in WISe screening and services for youth involved with the Developmental
Disabilities Administration will continue to be monitored in the Annual WISe Dashboard
and the Quarterly WISe Screening report. Additionally, a new item will be added to the
Annual WISe Dashboard for trends in WISe screening and services for Medicaid youth
diagnosed with Autism Spectrum Disorder.


     5. Washington has developed a strong structure to guide quality management,
        improvement, and accountability

In May 2019, DBHR published the updated WISe Quality Plan, 11 which provides a quality
framework for the WISe program. This Quality Plan provides tools, strategies, and
resources to help ensure that WISe efficiently delivers high quality, effective care to
Washington’s children and youth with complex behavioral health needs and their families.


10 Based on information gathered from the WISe Quality Management Plan – Quarterly Report for Quarter 2,

and 2019 Statewide WA Behavioral Health System generated on August 5, 2019.
11 The WISe Quality Plan is available online at https://www.hca.wa.gov/assets/program/wise-quality-

plan.pdf

                                                                                                           17
           Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 18 of 56




Its components facilitate both performance benchmarking and adaptation to better meet
the needs of children, youth, and their families.

The release of the updated Quality Plan was the culmination of a lengthy revision process
involving substantial reorganization of content, addition of considerable detail to better
describe processes for quality improvement, and many hours of discussion and
consultation with Plaintiffs’ Counsel and other stakeholders. The 2019 version replaces the
previous WISe Quality Management Plan (or “QMP”), which was finalized in 2014 and last
amended in 2015. Content revised and expanded in the updated Quality Plan includes:

      •    An expanded section on the Quality Improvement Infrastructure, including
           description of the structure, responsibilities, and expectations for each of the
           component groups.
      •    Specific measures that used administrative data to report on outcome measures for
           participants in the WISe program, to be reported on an annual basis.
      •    Information about the WISe Quality Improvement Review Tool, a case file review
           process that measures core practice components and provides feedback about how
           those practices align with the WISe Manual.
      •    Guidance on performance measures with established benchmarks as well as desired
           trends for performance monitoring and improvement of other key measures.
      •    A model for problem-solving and identifying quality improvement strategies.
      •    An updated, comprehensive list of WISe quality indicators, as well as sources for
           each indicator, review expectations, and guidance where available. 12

To facilitate dissemination and use of the updated Quality Plan, DBHR held multiple
technical assistance sessions with representatives from the WISe Behavioral Health
Provider Agencies, the regional Behavioral Health Organizations (BHOs), and the statewide
Managed Care Organizations (MCOs). In addition, HCA is currently engaging in a public
rulemaking process to ensure that the structures, data, and processes described in the
Quality Plan are maintained and sustained.


        6. Washington focuses on Youth and Family Peer Development

HCA has a commitment to creating leadership and workforce opportunities for Youth and
Family Peers across the state. The most effective way to activate this work is to listen to
youth and family peers in the workforce to understand their needs and interests and work
to identify and support career advancement opportunities.

To lead this work, HCA/Division of Behavioral Health and Recovery (DBHR) employs both
a Youth Liaison and a Family Liaison to convene and facilitate Youth and Family Peer
Development efforts and to provide support to WISe youth and family peers across the
state.


12   See appendix B of the WISe Quality Plan

                                                                                         18
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 19 of 56




The DBHR youth liaison position requires lived experience through past involvement with
a child-serving system and also experience working within WISe. The youth liaison
provides technical assistance to WISe agencies, presents at statewide and national
conferences on the youth peer role and acts as the point of contact for juvenile justice
issues related to WISe access.

The DBHR family liaison position requires lived experience as a parent/caregiver raising a
child or youth experiencing behavioral health needs. This position supports creating
leadership and workforce opportunities for family peers across the state. Family peers play
a critical role in WISe teams. They assist parents/caregivers in navigating a complex
system and provide understanding, support, and advocacy using their own lived experience
as a parent/caregiver.

The family liaison has been a long-standing role within DBHR that precedes
implementation of WISe and historically goes back to the late 1990s. The family liaison
provides technical assistance to WISe agencies, presents at statewide and national
conferences on the family peer role with a particular focus on family driven care and also is
the program manager for the Washington State Children’s Behavioral Health Statewide
Family Network (the Network) contract. In September of 2019, with the support of Jane
Walker, National Consultant and Executive Director, The Family Run Executive Director
Leadership Association (FREDLA); Ellen Kagen, National Consultant and Director (retired),
Georgetown Leadership Program; and Dan Embree, National Consultant and Director, En
Route Coaching & Training Services, LLC; Washington State Community Connectors, who
holds the contract for the Network; hosted a “Leveling Up For Families in Children’s
Behavioral Health” event to acknowledge the last five years of work completed and create a
collaborative vision for the future around the network’s structure and initiatives. The
existence of this network is vital to workforce development for WISe and other family peer
positions in Washington State. Some of the Network’s work has include events such as an
annual parent training weekend and Children’s Behavioral Health Summit.

Some of the leadership opportunities developed over the past three years for youth and
family peers, include the following:

   •   WISe Symposium 2017, 2018, and 2019 planning committees
   •   WISe Symposium 2017, 2018, and 2019 keynote speakers
   •   WISe Symposium 2017, 2018, and 2019 presentations
   •   Family, Youth, System Partner Round Tables
   •   Lead trainers for Washington State Certified Peer Counselor youth and family
       curriculum
   •   Technical assistance to FYSPRTS on engagement and leadership
   •   Lead trainers for Washington State Certified Peer Counselor youth and family
       curriculum
   •   Lead trainers for Washington State Certified Peer Counselor Standard Training


                                                                                          19
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 20 of 56




   •   Tri-Led Statewide WISe training for all WISe staff
   •   Evaluators of current community WISe trainings in Washington
   •   Development of family and youth leadership trainings in collaboration with Ellen
       Kagen, currently underway.


In January 2020, Ellen Kagen, National Consultant and Director (retired), Georgetown
Leadership Program, with support from Washington State Community Connectors,
contractor for the Network, is scheduled to provide a two-day experience for family leaders
to support and build leadership skills and approaches in system of care.

In early 2020, with guidance and leadership from the youth liaison, HCA/DBHR will finalize
and disseminate a Youth Peer Toolkit to provide additional information and resources for
youth peers, particularly youth peers who work on WISe Teams. Information and a link to
the Youth Peer Toolkit will be included in the next WISe Manual update.

In April 2020, Ellen Kagen from Georgetown University, with support from the WISe
Workforce Collaborative is scheduled to provide a two-day leadership academy for WISe
youth peers and youth who have been system involved. This leadership academy and
coaching will support participants to become paid trainers for the Youth Professional
Leadership curriculum.

Additional demonstration of leadership and workforce development opportunities for
youth peers include:

   •   Participation on the Washington State Partnership Council on Juvenile Justice
       Committee.
   •   Participation on a steering committee to determine needs for a youth network in
       Washington and identify next steps.
   •   Youth Professional Leadership and Youth Leadership trainings in 2018 that in 2019
       expanded to include planning, development. and implementation of a Train the
       Trainer model.
   •   Coaching to youth peers statewide.
   •   The WISe Workforce Collaborative hiring youth peer trainers for WISe and the state
       required Certified Peer Counseling training. These new youth trainers, worked in
       WISe, and some are moving to statewide training full time.
   •   A Youth Peer Workforce Development model was piloted in Washington last year
       and currently is in the planning stage for year 2 implementation; it is a model that
       can be replicated in another communities and states. This work is led by The New
       Horizons Alternative High School, Students Providing and Receiving Knowledge
       (SPARK) program in Pasco, Washington. They partnered with HCA/DBHR WISe,
       Comprehensive Health Care and En Route to pilot a workforce training model that
       supports high school students becoming state certified peer counselors and
       apprenticeship opportunities at the completion of the program.


                                                                                          20
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 21 of 56




Some of the unique family peer leadership opportunities developed over the past three
years include the following:

   •   Internship position to serve on the CLIP Parent Steering Committee.
   •   Washington State Children’s Behavioral Health Statewide Family Network.
   •   Planning and presenting at the annual parent training weekend hosted by the
       Washington State Community Connectors, the contractor for the Statewide Family
       Network.
   •   Planning and implementing the Washington Children’s Behavioral Health Summit
       held annually in May to align with National Children’s Mental Health Awareness
       Day.


    7. Washington invests in dynamic training and coaching for WISe practitioners
       and system partners

Between July 2014 and September 2019, over 4,000 participants have attended WISe
trainings and technical or coaching sessions provided by either the Workforce
Collaborative, the Praed Foundation, the Evidence Based Practice Institute (EBPI) at the
University of Washington, or DBHR staff.

WISe Workforce Collaborative: DBHR began with their new vendor, En Route Coaching and
Training Services, LLC in July 2018. This vendor offers enhanced training and coaching for
WISe practitioners across the state under the contract for the WISe Workforce
Collaborative. This collaborative continues to provide the structure required to support
workforce development for WISe.

Since July 2018, the WISe Workforce Collaborative was contracted to provide training,
coaching, and technical assistance for WISe across Washington State. Table 1 below
provides an overview of the number of WISe staff trained from July 2018 - September
2019.


Table 1. Workforce Collaborative WISe trainings, July 2018 – September 2019

Training Type               Number of trainings          Number of staff trained
WISe Intro 2-Day                       18                           346
CANS/WISe 2-Day                        10                           173
WISe Intermediate 2-Day                20                           361
WISe Supervisor 1-Day                  11                           132
Statewide YF CPC 5-Day                  2                           61
Regional YF CPC 5-Day                   6                           122
BRS/WISe Trainings ½ Day                8                           144
BRS/WISe TA Sessions ½                  6                           147
Day


                                                                                           21
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 22 of 56




Between July 2018 and September 2019, a total of 1,486 participants attended WISe
trainings across the state. Those trained included care coordinators, therapists, family
partners, youth partners, or “other” (supervisors, program managers, etc.).

Eight WISe Youth and Family Certified Peer Counselor trainings were provided since the
last court report. A total of 183 people participated in the Youth and Family Certified Peer
Counselor trainings between July 2018 and September 2019.

Since July 2018, all 10 regions have had on-site and virtual (calls/web-based) WISe
supervisor and practitioner coaching sessions facilitated by the WISe Workforce
Collaborative. These sessions focused on quality and fidelity indicators, practitioner skills,
supervision/coaching skills, and planning and prioritization of training/coaching topics for
WISe supervisors and practitioners. 56 days of in-person coaching including 15 days
specifically for WISe Mental Health Therapists/Clinicians and 142 hours of virtual
coaching sessions were provided.

Additional WISe training: In addition to trainings provided by the Workforce Collaborative,
DBHR supports additional trainings opportunities for WISe.

DBHR funds the Evidence Based Practice Institute (EBPI) at the University of Washington
to provide training and consultation to increase the use of evidence and research based
practice in child and adolescent mental health. EBPI continues an increased focus on the
use of Evidence and Research Based Practices (ERBPs) as part of the service array offered
by WISe. EBPI’s reporting guide provides directions on tracking the use of ERBPs among
youth mental health providers including WISe settings. EBPI also received funding to
provide trainings to WISe providers on cultural competence and appropriately treating
young people with autism in a WISe setting. Those trainings took place in September
through December 2018. Additional training on cultural humility/competence was
provided by Dr. Fong Lau-Johnson from the University of Washington at the WISe
Symposium in July 2019.

WISe Symposium: In July of 2019, DBHR sponsored the 3rd Annual WISe Symposium in
Kennewick, Washington with 445 participants in attendance.

The theme chosen for this year’s symposium Building up Roles, Bridging the Gaps and
Breaking down Barriers was a continuation of the 2018 symposium theme. This year’s
external symposium planning committee believed strongly that this is the work that
continues across the state to complete implementation and should be the focus of the 2019
symposium.

This year, attendees participated in affinity groups based on their role in WISe, attended
keynote presentations on defining success and cultural humility, and listened to WISe
youth share their life successes and challenges during the youth panel presentation.
Attendees also were able to choose from a list of engaging and informative topics during
five breakout sessions. A large number of participants in both the system partner meeting
                                                                                           22
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 23 of 56




and symposium reported that they benefited from attendance and look forward to these
continuing to be an annual event.

A participant evaluation conducted electronically after the symposium asked participants
to rate the conference and keynote sessions using a 5-point scale, with higher ratings
denoting more positive experiences. 202 evaluations were completed, for a response rate
of 45%. The majority of participants (75%) gave high ratings for all of the keynote sessions,
and agreed that the content was relevant and useful, that the symposium was a
motivational experience, that they made new connections in the WISe field, and they
gained knowledge and skills related to their work.

Evaluation participants were asked which session they attended that will help most in the
future; the top six in order of selection were: Using Trauma Informed Principles in Schools,
Structural Racism as a Function of Behavior, Gang Awareness 101: Becoming a Change
Agent, Understanding Special Education, Improving Systems of Care for LGBTQ+ Youth, and
Bridges Out of Poverty.

Additionally, DBHR hosted a third annual system partner meeting to continue the work to
promote collaboration between local and state agencies that provide referrals and benefit
from WISe; 115 people attended this half-day meeting.

Specialized Trainings for WISe Practitioners and System Partners: Between the fall of 2018
and spring of 2019, the following trainings were provided for WISe practitioners and
system partners 1) Cultural Competency, 2) working with youth on the Autism spectrum,
and 3) outreach and service provision of WISe and the connection to Foundational
Community Services (FCS) to connect youth to education and job training as well as
housing supports.


    8. Washington continues its efforts to ensure due process protections

During 2019, BHOs and MCOs submitted necessary information for the required quarterly
reports to DBHR/HCA reflecting data around the issuance of Notice of Adverse Benefit
Determinations (NOABD). The NOABDs are sent to clients when a requested service has
been denied, terminated or reduced, or not been provided timely. This report also reflects
any grievance and denials that have been filed by clients during the quarter and the status
of the grievance and appeal.

Additionally, the grievance and denial quarterly reports received from the BHOs are used
to create a quarterly Due Process Roll-up Report: Children and WISe. This information is
broken down by region and by the reason for grievances and the type of denials that were
issued (such as not meeting CANS algorithm, termination, reduction or suspension of
service).

Over this past year, DBHR/HCA continued to offer technical assistance to staff with BHOs
and MCOs involved with WISe and WISe provider agency staff. Policies and procedures are
                                                                                          23
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 24 of 56




continually discussed to ensure compliance with contract, state, and federal regulations,
and the WAC.

The newest version of the WISe Manual, Version 1.9, Section 5 on Client Rights was
updated to reflect new policies and procedures for clients’ due process including the right
to NOABDs. Additionally, to ensure all stakeholders have access to information on a clients’
right to due process, a new Grievance, Appeals and Fair Hearing Information sheet was
written and vetted and is now available on the HCA WISe web page and through
distribution by email and Gov Delivery.

DBHR/HCA continues to following grievance and appeals monitoring process for WISe by:

   •   Requiring quarterly quality reports from the MCEs that includes data regarding
       Notices (NOABDs) and Appeals.
   •   Identifying policies or practices by the MCEs or providers that violate the state and
       federal due process requirements.
   •   If informal efforts at remediation fail, taking corrective action measures (including
       requiring a corrective action plan by the MCE) to address and remediate non-
       compliance by the BHO/MCO with notice and appeals requirements in the
       Settlement Agreement and state and federal law.
   •   Providing BHOs and MCOs technical assistance on due process requirements
       outlined in the DBHR contract, guidance documents, and the updated WISe Manual
       for WISe-enrolled and WISe-referred BHO beneficiaries.
   •   Monitoring BHO and MCO reports on grievances, appeals, and administrative
       hearings and to correct instances of non-compliance.

DBHR/HCA continues to recognize the need for ongoing technical assistance and quality
improvement in the grievance and appeal system and will continue to provide this. One
area that may require monitoring is the obligation under the Settlement Agreement that a
child or family may file an appeal when the child or family disagree with the treatment
plan. No appeals have been filed since WISe implementation, which raises questions about
whether NOABDs are being provided in every case. Monitoring compliance through the use
of spot checks on these notices may need to be conducted.

To that end, HCA has also committed to a one-time report which includes following up
directly with youth and families to confirm if they received an NOABD. This review will be
conducted over the course of two months and will be completed in early 2020.


    9. Washington has made a continued financial commitment

Washington continues to commit funding for implementation efforts. Appropriated
amounts support direct services, Family Youth System Partner Round Tables (FYSPRTs),
trainings and technical assistance, a statewide youth and family survey, and the Behavioral
Health Assessment Solution (the database for WISe). The appropriated state budget for

                                                                                            24
        Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 25 of 56




State Fiscal Year 2019 is 99.4 million dollars. In addition, DBHR uses Federal Mental
Health Block Grant and System of Care funding for the annual WISe Symposium for
practitioners, youth, families and system partners, FYSPRTs activities as well as promoting
youth and family engagement strategies.

In state fiscal year 2015, the first year of WISe implementation, the budget was 15 million,
and each following year the legislature has approved an increased budget. The current
budget for the T.R. Settlement Agreement is 99.4 million dollars.

Appropriated funding for Fiscal Year 2020 is identified in Table 2 (below).

 Table 2. WISe Budget, State Fiscal Year 2020
 State                                                                               $49,745,000
 Federal                                                                             $49,745,000
 Total WISe Budget (includes salaries & encounters)                                  $99,490,000



Washington Has More Work in the Coming Year

     1. Washington is expanding the integration delivery of care model statewide

Washington State is committed to whole-person care, integrating physical health, mental
health, and substance use services for quality results and healthier residents. Currently
HCA contracts with BHOs and five MCOs to deliver care to Medicaid enrollees. By
January 1, 2020, BHOs will no longer be designated to provide WISe and other mental
health services. The integrated managed care will be the model statewide with each MCO
responsible for covering physical health services, as well as WISe and other mental health
and substance use disorder treatment benefits under either the Apple Health Integrated
Managed Care (AH-IMC), or Apple Health – Integrated Foster Child (IAHFC) Managed Care
contracts. All foster youth through age 18 are enrolled in IAHFC. Enrollment for youth age
19-25 is available and voluntary. Most Medicaid beneficiaries will be required to enroll in
an integrated MCO plan, although there are some discrete populations who will have the
option to receive WISe and other care through fee-for-service. 13

The map below shows which regions are and will be converted from having BHOs
administer WISe to MCOs paying for and delivering WISe under the new AH-IMC
program. 14




13 WISe is available through Fee-For-Service (FFS) by approved WISe agencies for American Indian and
Alaska Native youth and their families.
14 Additional information available at https://www.hca.wa.gov/assets/free-or-low-cost/19-0025.pdf.


                                                                                                       25
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 26 of 56




Integrated Managed Care regions




To assist with the final transition into the AH-IMC model, HCA is again holding in-person
meetings and webinars, called Knowledge Transfers, which include presentation time from
each of the three BHOs to focus on regional differences. MCOs have been working closely
with the HCA/Medicaid Program Operations and Integrity (MPOI) and DBHR/WISe since
January 2019 and are leading WISe improvements in other AH-IMC regions of the state. In
the remaining regions, MCOs have been working on establishing relationships and
attending existing WISe provider meetings to assist with the January 2020 transition.

In preparation for the final AH-IMC shift, Readiness Reviews were conducted with all five
MCOs. These compliance reviews are performed prior to major changes in contracting to
ensure MCOs will be able to meet all of the contract expectations to deliver Medicaid
services. Readiness Reviews are conducted by HCA staff and consist of in-depth document
reviews, onsite visits, and interview questions with key MCO staff to assess the MCO’s level
of preparedness for fulfilling the scope of work in the contract. Examples of readiness
indicators include contracting status with the existing WISe provider network, alignment of
the WISe Quality Plan and the MCO Quality Assurance and Performance Improvement
projects and processes, and review for due process to ensure compliance with federal and
state regulations. After a Readiness Review is completed, HCA can require corrective action
for any critical elements that are deemed not ready for implementation. The Readiness
Review process was finalized in late October for IMC MCOs and will determine whether an
MCO is prepared to implement the scope of work in the new contract for these regions.

In order to continue directing MCOs towards positive WISe outcomes, HCA strengthened
the contract language relating to the WISe program in the AH-IMC and IAHFC contracts,
effective January 2019 and this contract language has been maintained. Changes included a
requirement that MCOs must meet or exceed their monthly caseload target numbers of
children and youth served for each of their regions. In addition, MCOs are required to build
                                                                                         26
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 27 of 56




and sustain capacity to meet the potential demand for WISe services that exceeds the
caseload targets for each of the MCO’s contracted regions. If the MCO does not meet these
requirements for the month in any of the MCO’s contracted regions, the contract
specifically requires the MCO to develop and implement a plan to build caseload capacity
and/or service intensity and achieve and maintain monthly caseload target numbers
and/or service intensity.

WISe in King County: Since the initial implementation of WISe in King County, the data
from this region has consistently reflected disproportionately low numbers of children and
youth accessing WISe and lower levels of service intensity. During 2019, the King County
WISe program has undergone a number of changes to improve access to WISe and quality
of WISe services. These improvements include:

       •   Adding capacity by expanding the WISe provider network and removing barriers
           for new WISe providers.
       •   Creating more pathways to WISe with decentralized screenings and enrollments.
       •   Increasing consistency by transitioning WISe providers to the “state” model by
           March 1, 2020.
       •   Establishing the King County WISe Collaborative for staff from King County,
           Managed Care Organizations (MCOs), and WISe providers to support transition,
           contract oversight, and performance improvement. The regional FYSPRT Family
           Tri-lead participates in this meeting and acts as a liaison with the regional King
           County FYSPRT.

Another system transition in King County is for WISe providers to directly contract with
MCOs rather than the county. In July 2019, accountability for WISe performance and
oversight transferred to the MCOs. Between that time and the fall of 2019, the five MCOs
decided to begin directly contracting for WISe on March 1, 2020. As of November 2019,
new providers who want to start WISe and are not currently offering WISe in King County,
will contract directly with MCOs.

The MCOs are also planning to hold a joint MCO symposium for WISe providers to provide
individual training and technical assistance. These symposiums have been successful in
other regions in preparing providers for IMC implementation, and will deliver content on
the areas of utilization management, credentialing, billing, critical incidents, and other
operational elements.

King County WISe providers continue to address meeting the performance benchmark for
service intensity. In mid-November, through the King County WISe Collaborative, the
following strategies were implemented:

       •   New action plans have already been developed by each WISe provider in King
           County with a specific focus on service intensity.




                                                                                          27
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 28 of 56




       •   The current action plans will be replaced with service intensity action plans to
           monitor the results with rapid cycle learning on a weekly basis by the MCOs and
           King County.
       •   MCOs will report bi-monthly to HCA during CQI meetings.
       •   If weekly progress is not made, new strategies will be developed and activated
           by providers with oversight by the MCOs.

HCA will continue to work closely with MCOs through the CQI process and direct additional
action if needed.

    2. Workforce issues continue to pose a challenge, and additional training and
       coaching approaches are being developed and implemented

The HCA/WISe team is developing system targeted approaches to support youth,
families, and WISe behavioral health professionals. Over the next year the WISe team
will continue to convene workgroups and complete resource materials to support the
quality of care for specific populations of youth who receive WISe. Targeted “teaming”
approaches are under development to increase access and/or engagement in WISe. The
overall focus is on building state or local structures and processes that increase
effectiveness in workforce development for WISe through a variety of approaches.
 Areas of focus include:

       •   WISe and American Indian and Alaskan Native youth and their family.
       •   Birth to Five years old and WISe.
       •   Transition Age Youth (TAY) and WISe.
       •   Autism spectrum disorder (ASD)/Intellectual and Developmental Disabilities
           (IDD) and WISe “Best Practice.”

WISe and American Indian and Alaskan Native youth and their families:
In July 2019, the WISe case rate was included in the Tribal Billing Guide. The billing guide is
designed to assist tribal health care facilities and providers to deliver health care services to
eligible clients and to bill the Medicaid agency for delivering those services. The WISe case
rate of $3012 is available per youth, per month receiving WISe.

To further the support delivery of WISe through tribal health care facilities, tribal
representatives have begun partnering with WISe staff to update the WISe training
curriculum to make WISe services more useful for American Indian and Alaska Native
youth and their families.

HCA/DBHR is hopeful tribal behavioral health agencies will consider the updated training
curriculum and WISe as a service delivery model to include in the array of services they
provide. Anticipated completion date for the updated training curriculum is March 2020.

HCA/DBHR is also working to identify additional resource materials to include on this page
to assist non-native WISe practitioners when working with American Indian and Alaska

                                                                                              28
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 29 of 56




Native youth and their families. Links to these resources will be included in the next WISe
Manual update.

WISe continues to be available through Fee-For-Service (FFS) by approved WISe agencies
offering FFS or through managed care entities if American Indian and Alaska Native
families and their youth decide to opt into managed care.

Birth to Five and WISe: Providing Wraparound with Intensive Services (WISe) to children
younger than five years old presents specific challenges. Most staff report lacking any
training or education on providing mental health interventions for infants and young
children and many are not familiar with the diagnostic tools used in this age group (DC 0-
5). There is also limited experience and confidence using the Child and Adolescent Needs
and Strengths (CANS) tool used to screen, develop care plans, and monitor functional
progress of young children in WISe. HCA and MCOs have recently brought on WISe
providers with expertise in infant and early childhood and delivering therapeutic pre-
school services. These agencies are now licensed to provide the full service array of mental
health services required under WISe. These agencies have also been able to recruit staff
needed for WISe teams. The state has recently approved Medicaid payment for ‘dyadic
services’ that are delivered to the parent/caregiver of the identified patient (the young
child).
Transition Age Youth (TAY) and WISe: HCA/DBHR is working with Community Youth
Services, a WISe agency specializing in WISe and TAY, and the WISe Workforce
Collaborative to provide additional guidance for consideration when working with
transition-aged youth. Information will be provided in the next annual WISe Manual
update.
ASD/IDD and WISe “Best Practice.” From 2019 BHAS data, nine percent of WISe clients
in Washington State identified as also receiving developmental disabilities services
including services and supports for autism spectrum disorder or intellectual/
developmental disabilities (ASD/IDD). These youth often have unique care coordination
needs to ensure appropriate delivery of WISe along with other services such as applied
behavioral analysis or medical treatments. At the same time, many mental health
practitioners lack training and education on how to effectively serve those with ASD/IDD.
HCA in partnership with DSHS/DDA and various stakeholders are developing a series of
‘best practice’ suggestions for WISe providers to more effectively meet the needs of those
with ASD/IDD and who qualify for WISe services.

Beginning in August 2019, the HCA started facilitating meetings to identify best practices
when working with the ASD/IDD population. The workgroup is planning to address:

   •   Access Protocols
   •   Coordination Protocols
   •   Training Needs


                                                                                             29
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 30 of 56




In September 2019, HCA invited DDA to co-facilitate these workgroup meetings and also
participate in consultation meetings with national experts, Suzanne Fields and Liz Manley
with the University of Maryland, Technical Assistance Network, to assist in determining a
“Best Practice” for WISe. The goal for recommendations and for materials to be included in
the WISe Manual is July 2020.


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                                                                                        30
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 31 of 56




II. Preparing for Exit

The State anticipates exiting the Settlement Agreement by June 30, 2020. In early 2020, the
parties will work in collaboration to create an outline for a final report to demonstrate
state performance towards meeting T.R. exit criteria.

In addition to preparing documentation for exit, the State will focus on exit benchmarks
identified by the parties’ stipulations. These primary areas include: 1) WISe Service
Intensity, 2) BRS and WISe screening rates, and 3) on-going demonstration of an
operational WISe Quality Plan. Attention will be given to these areas while maintaining
and/or building on already existing WISe implementation successes statewide.

Access and Service Delivery

In the April 2018 Stipulation to the Court, the parties agreed “utilization for WISe is
reached when the annual unduplicated caseload is 82.5% of the estimated number of class
members to be served.”

The agreement notes that the number of children/youth to receive services is 7000
annually. For the purposes of translating between annual unduplicated and monthly
caseload, HCA is using nine months as the average WISe service duration, with the monthly
caseload target of 3150. To meet substantial compliance, at least 2600 youth need to be
receiving WISe monthly. October 2019 enrollment reports from Managed Care
Organizations show over 2600 youth receive WISe monthly, which would meet the
monthly caseload service target in the settlement agreement. These monthly service target
numbers will be further validated as encounter data matures. With the addition of new
WISe providers and expansion of teams with existing providers, the State expects an
increase in the monthly caseload for WISe over the next year.

In addition to the benchmark of numbers served, every region must maintain an average of
nine service hours a month or above, and the overall average statewide must be at least
10.5 hours per month. This requirement is intended to ensure that the children being
counted as “receiving WISe” are getting WISe services consistent with the Practice Model
and not other less intensive, less appropriate treatment. In the September 2019 Service
Intensity Report, WISe service intensity has increased across the state. The statewide
three-month moving average number of service hours per youth per WISe service month
was 11.0 in April 2019. This average varied among regions, ranging from 7.7 hours per
service month in North Central to 12.9 hours per service month in Pierce. One region,
North Central, is below the benchmark for substantial compliance. HCA and MCOs are
working with the three providers in this region to assist with strategies to stabilize
workforce retention issues and identify strategies to reach the monthly service average.

King County Service Intensity data is under review and an updated report is forthcoming.
RDA has determined that the average service hours reported for King County in the
September 2019 Service Intensity Report are inaccurate. Data errors were discovered in

                                                                                           31
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 32 of 56




the January 2019 - June 2019 reporting timeframe where service units on mental health
service encounters from King County were frequently reported in minutes rather than
units. For many encounters, this type of reporting is both inconsistent with historical data,
as well as inconsistent with HCA’s Service Encounter Reporting Instructions (SERI). These
coding errors indicated higher WISe intensity numbers for King County for January - April
2019 than were previously reported.

BRS/WISe

In July 2019, measurable exit criteria related to Paragraph 69(c) was established and
submitted to the court. HCA and DCYF have worked diligently to prepare the workforce to
provide BRS and WISe concurrently and the coordination of these services started
statewide in October 2019. Requirements for BRS and WISe providers are:
   •   As of October 1, 2019, for youth entering into BRS who screen eligible for WISe (and
       if 13 and older, consent) are to receive WISe and BRS concurrently.
   •   As of October 1, 2019, class members who screen eligible for WISe and are already
       receiving BRS are being offered CFTs monthly until WISe is provided.
Additionally, new benchmarks for 69(c) established in July 2019 are:

   •   90% of the children/youth will have been screened for WISe prior to placing a child
       in BRS in state or placement in an out-of-state facility-based services. Reasons for
       placement in BRS when a child/youth screens eligible for WISe will be tracked in
       BHAS. This requirement will be fully achieved when the Defendants reach an
       average of 90% in three consecutive months prior to exit.
   •   90% of the children/youth served in BRS placements and/or out-of-state services
       will have been screened for WISe as a part of discharge planning, if not already
       receiving WISe. This requirement will be fully achieved when the Defendants reach
       an average of 90% in three consecutive months prior to exit.

HCA, DCYF, and Coordinated Care of WA, the plan for Apple Health Integrated Foster Child
Managed Care program, are working in partnership to create a proactive monitoring
system of youth entering and exiting BRS and completion of WISe screens. With the small
numbers of youth of entering and exiting BRS monthly, it will require continuous
monitoring and coordination to demonstrate and maintain 90% completion.

Quality Management

During the 12-month extension (July 1, 2019 - June 30, 2020) HCA will continue to track
and report to Plaintiffs’ counsel on a quarterly basis WISe services denials, delays
(including waiting times), or reductions in intensity, scope, or duration, primarily due to
insufficient service capacity.

Quarterly reports were provided to Plaintiffs’ Counsel in September 2019; the Quarterly
Due Process report was shared in November 2019. Plaintiffs’ Counsel will be provided
                                                                                              32
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 33 of 56




reports again prior to January 2020 T.R. Implementation Advisory Group (TRIAGe)
meeting.


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                                                                                  33
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 34 of 56




III. Glossary of Key Terms

Definitions: The words and phrases listed below have the following definitions:

  1.     “Behavioral Health Assessment Solution” or “BHAS” is an online data system
         to store and report on Child and Adolescent Needs and Strengths (CANS) data for
         Wraparound with Intensive Services (WISe).

  2.     “Behavioral Health Organizations” or “BHOs” are created by state law to
         purchase and administer public mental health and substance use disorder
         services under managed care. BHOs are single, local entities that assume
         responsibility and financial risk for providing substance use disorder treatment,
         and the mental health services previously overseen by the Regional Support
         Networks (RSNs).

  3.     “Behavior Rehabilitation Services” or “BRS” is a temporary intensive
         wraparound support and treatment program for youth with high-level service
         needs. BRS is used to stabilize youth (in-home or out-of-home) and assist in
         achieving their permanent plan. These services are offered through contracts
         under DCYF.

  4.     “Child and Adolescent Needs and Strengths” or “CANS” is a multi-purpose
         tool developed for children’s services to support decision making, including
         level of care and service planning, to facilitate quality improvement initiatives,
         and to allow for the monitoring of outcomes of services.

  5.     “Child and Family Team” or “CFT” includes the youth, parents/caregivers,
         relevant family members, and natural and community supports.

  6.     “Children’s Long-term Inpatient Program” or “CLIP” is the most intensive
         inpatient psychiatric treatment available to all Washington residents, ages 5-18
         years of age; offers a medically based treatment approach providing 24-hour
         psychiatric care staffed by psychiatrists, Master-level social workers, RNs, and
         other clinical experts.

  7.     “Coordinated Care of Washington” or “CCW” is a Managed Care Organization
         (MCO) that will provide behavioral health services for all youth in foster care
         statewide via the Apple Health Foster Care plan, starting January 1, 2019. CCW
         will also offer a behavioral health services plan available to Medicaid clients in
         the Greater Columbia, King, North Central, North Sound, and Pierce regions.

  8.     “Culturally and Linguistically Appropriate Services” or “CLAS” – These
         national standards are intended to advance health equity, improve quality, and
         help eliminate health care disparities by providing a blueprint for individuals
         and health and health care organizations to implement culturally and
         linguistically appropriate services. Adoption of these standards will help
                                                                                          34
     Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 35 of 56




       advance better health and health care.
       https://www.thinkculturalhealth.hhs.gov/clas

9.     “Developmental Disabilities Administration” or “DDA” is an administration
       of the Department of Social and Health Services that provides services and
       programs for state residents with developmental disabilities and their families.
       https://www.dshs.wa.gov/dda/consumers-and-families/services-and-
       programs-non-residential

10. “Division of Behavioral Health and Recovery” or “DBHR” means the division
    within the Health Care Authority, the Medicaid authority for the State, whose
    staff are behavioral health subject matter experts. DBHR was previously part of
    the Department of Social and Health Services (DSHS) Behavioral Health
    Administration (BHA) and transitioned to HCA on July 1, 2018.

11. “Department of Children, Youth, and Families” or “DCYF” means the cabinet-
    level agency focused on the well-being of children. DCYF, established in July
    2018, holds a mission and vision to ensure that "Washington State’s children and
    youth grow up safe and healthy—thriving physically, emotionally and
    academically, nurtured by family and community." DCYF currently includes the
    former Department of Early Learning and Children’s Administration of DSHS; in
    July 2019, DCYF included the Division of Juvenile Rehabilitation and the Office of
    Juvenile Justice, previously part of the Department of Social and Health Services
    (DSHS).

12. “External Quality Review Organization” or “EQRO” provides external quality
    review and supports quality improvement for services provided to Medicaid
    enrollees in Washington; the work supports the state of Washington Health Care
    Authority (HCA) and Department of Social and Health Services (DSHS) Division
    of Behavioral Health and Recovery.

13. “Family Youth and System Partner Round Tables” or “FYSPRTs” provide an
    equitable forum for families, youth, systems, and communities to strengthen
    sustainable resources by providing community-based approaches to address the
    individualized behavioral health needs of children, youth, and families.

14. “Fiscal Year” is the time period running from July 1 through June 30 each year.

15. “Full partners” are persons or entities who play an active role in the
    development and implementation of activities under the T.R. v. Birch and Strange
    (formerly Dreyfus and Porter) Settlement Agreement. Full partners have the
    same access to data and equal rights in the decision-making processes as other
    members of the Governance structure.

16. The “Governance Structure” consists of inter-agency members on an executive
    team of state administrators, the statewide, regional, and local FYSPRTs, an
                                                                                      35
  Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 36 of 56




     advisory team, and various policy workgroups who inform and provide
     oversight for high-level policy-making, program planning, and decision making
     in the design, development, and oversight of behavioral health care services and
     for the implementation of the T.R. v. Birch and Strange settlement agreement.

17. “Health Care Authority” or “HCA” purchases health care for more than 2
    million Washingtonians through two programs — Washington Apple Health
    (Medicaid) and the Public Employees Benefits Board (PEBB) Program. As of
    July 1, 2018, HCA includes the Division of Behavioral Health and Recovery
    (DBHR), which was previously part of the Department of Social and Health
    Services (DSHS)

18. Managed Care Entity(s) or “MCEs”- A term used to collectively refer to
    Behavioral Health Organizations (BHOs) and Fully Integrated Managed Care
    Organizations (MCOs).

19. Managed Care Organizations or “MCOs” are health care providers or a group
    or organization of medical service providers who offers managed care health
    plans. It finances and delivers health care using a specific provider network and
    specific services and products.

20. “Quality Improvement Review Tool” or “QIRT” is a file review tool developed
    by DBHR for use with WISe documentation. The QIRT is designed to provide
    feedback on the extent to which documented practices are consistent with the
    WISe practice model.

21. “Quality Plan” or “QP” prescribes the quality management goals, objectives,
    tools, resources, and processes needed to measure the implementation and
    success of the commitments set forth in the T.R. v. Birch and Strange settlement
    agreement.

22. “System of Care” or “SOC is a spectrum of effective, community-based services
    and supports for children and youth with or at risk for mental health or other
    challenges and their families, that is organized into a coordinated network to
    build meaningful partnerships with families and youth and address their cultural
    and linguistic needs in order to help them to function better at home, in school,
    in the community, and throughout life.

23. “T.R. Implementation Advisory Group” or “TRIAGe” is a group comprised of
    the Plaintiffs’ Counsel, Attorney General Representatives, and representatives of
    HCA, Department of Child, Youth and Families and DSHS child-serving
    administrations (DDA and RA) who have knowledge relevant to the services and
    processes identified in the WISe Implementation Plan. TRIAGe is used as a
    communication mechanism between parties to enable implementation.



                                                                                   36
  Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 37 of 56




24. “T.R. v. Birch and Strange (formerly Dreyfus and Porter) Settlement
    Agreement” is a legal document stating objectives to develop and successfully
    implement a plan that delivers Wraparound with Intensive Services (WISe) and
    other supports statewide consistent with Washington State Children’s
    Behavioral Health Principles.

25. “Tri-Lead” is a role developed to create equal partnership, among a family, a
    transition age youth and/or youth partner, and a system partner representative
    who share leadership in organizing and facilitating FYSPRT meetings and action
    items.

26. “Washington State Children’s Behavioral Health Principles” are a set of
    standards, grounded in the system of care values and principles, which guide
    how the children’s behavioral health system delivers services to youth and
    families. The Washington State Children’s Behavioral Health Principles are:
               Family and Youth Voice and Choice
               Team Based
               Natural Supports
               Collaboration
               Home- and Community-based
               Culturally Relevant
               Individualized
               Strengths Based
               Outcome-based
               Unconditional

27. “WISe Workforce Collaborative” means a staffing infrastructure that operates
    independently and is tri-led by youth and families, state systems, and partner
    universities to develop sustainable local and statewide education, training,
    coaching, mentoring, and technical assistance.

28. “Wraparound with Intensive Services” or “WISe” means intensive mental
    health services and supports, provided in home and community settings, for
    Medicaid eligible individuals, up to 21 years of age, with complex behavioral
    health needs and their families, in compliance with the T.R. v. Birch and Strange
    settlement agreement.




                                                                                    37
       Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 38 of 56




IV. Attachments

The following documents, filed with the court earlier this year, are attached to this report
to facilitate reference:
• Stipulation Regarding Clarifications to the Parties’ Settlement Agreement, previously
    filed with the court on April 23, 2018 (see pages 39 – 42).
• Final Mediation Agreements as of March 27, 2018, previously filed with court as an
    exhibit attached to the above stipulation (see pages 43 – 46).
• Stipulation regarding amended clarifications to the Parties Settlement Agreement July
    1, 2019 (see pages 47 – 50).
• Final Mediation Agreements as of April 6, 2018 with June 13, 2019 Amendments (see
    pages 51 – 56).


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                                                                                           38
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 39 of 56




                                                                   39
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 40 of 56




                                                                   40
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 41 of 56




                                                                   41
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 42 of 56




                                                                   42
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 43 of 56




                                                                   43
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 44 of 56




                                                                   44
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 45 of 56




                                                                   45
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 46 of 56




                                                                   46
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 47 of 56




                                                                   47
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 48 of 56




                                                                   48
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 49 of 56




                                                                   49
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 50 of 56




                                                                   50
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 51 of 56




                                                                   51
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 52 of 56




                                                                   52
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 53 of 56




                                                                   53
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 54 of 56




                                                                   54
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 55 of 56




                                                                   55
Case 2:09-cv-01677-TSZ Document 182 Filed 12/30/19 Page 56 of 56




                                                                   56
